                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                               AT GREENEVILLE


UNITED STATES OF AMERICA                         )
                                                 )
V.                                               )      No. 2:09-CR-45
                                                 )
SUNNAH MADDOX, ET AL.                            )



                        REPORT AND RECOMMENDATION

       The defendant Adrian Dorsey has filed two motions to suppress, (Docs. 419 and 420),

which have been referred to the United States Magistrate Judge for a report and

recommendation under the standing orders of this Court and pursuant to 28 U.S.C. § 636(b).

A hearing was held on August 24, 2010.

       Both motions to suppress center upon the anticipated testimony of a co-defendant,

Jamie Rush. Mr. Rush is expected to testify on behalf of the United States and implicate Mr.

Dorsey in the criminal activities of yet another co-defendant, Sunnah Maddox.

       First, Rush will testify that Mr. Maddox told him that Mr. Dorsey would be assisting

in Maddox’s drug operation and in running Mr. Maddox’s “stash house.” Second, Rush will

testify that Mr. Dorsey “intercepted” a cell phone call (or cell phone text message) sent by

Maddox to a co-defendant, Ebberts, in which Maddox instructed Dorsey to “flush the key.”

The question is whether Rush’s testimony is properly admissible against Mr. Dorsey under

F.R.E. 801(d)(2)(E) as the statement of one of his co-conspirators made during the course

of and in furtherance of the conspiracy.



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       As noted, Rush will testify that he was told by Maddox that Mr. Dorsey would be

assisting in the operation of Maddox’s drug business and with running Mr. Maddox’s stash

house. First, whether or not Maddox made this statement to Rush is a question that

implicates Rush’s credibility which the jury will resolve; Mr. Rush of course will testify and

be subject to cross examination. The ultimate question is the admissibility of Maddox’s

statement.    Presumably Mr. Maddox will not be available for cross examination.

Nevertheless, if Maddox made his statement during and in furtherance of the conspiracy, then

F.R.E. 801(d)(2)(E) provides that his statement is not hearsay and is admissible.

       The burden is upon the United States to prove by a preponderance of the evidence that

the conspiracy existed at the time the statements were made and that those statements were

made in furtherance of that conspiracy. See, United States v. Young, 553 F.3d 1035, 1045

(6th Cir. 2009); Bourjaily v. United States, 483 U.S. 171, 175 (1987).

       With respect to proving the existence of a conspiracy and the relationship of the

statements to that conspiracy, United States v. Vinson, 606 F.2d 149 (6th Cir. 1979) approved

three alternative and equally acceptable methods for the district court to determine the

admissibility of those statements under F.R.E. 801(d)(2)(E). One of those alternatives is to

admit the statement subject to a later demonstration of its admissibility by a preponderance

of the evidence. Id., at 152. It has long been the practice of the district judges in the Eastern

District of Tennessee, and particularly in the Northeastern Division, to use this method.

       It is noted that F.R.E. 801(d)(2)(E) specifically provides that any statements admitted

under that rule are not alone sufficient to establish the existence of the conspiracy and the

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participation therein by Mr. Maddox and Mr. Dorsey. In other words, independent

corroborating evidence is required. The United States unequivocally maintains that it has

such independent corroborating evidence. Whether or not that corroborating evidence in fact

exists is a matter that must await the trial of the case; it is not an issue that is subject to

pretrial disposition.

       The second facet of Mr. Rush’s testimony is a bit more confusing. Mr. Rush and Mr.

Maddox were together when they were stopped by Johnson City police officers. As that

traffic stop was proceeding, a search warrant was being executed at the residence of Maddox

and Rush at 2201 Forest Acres Drive in Johnson City. Rush will testify that as they sat

beside the road during the traffic stop, Maddox sent a cell phone text message to a co-

defendant, Ms. Ebberts; as he sent the text message, Maddox was telling Rush the contents

of the message; that the message was, “flush the key;” that although Ebberts was present

when the text message was sent and aware of its contents, it actually was Mr. Dorsey, who

was with Ebberts and who had her cell phone, who actually received the message from

Maddox. At this point, the question arises; how does Mr. Rush, who was sitting beside

Maddox alongside the Interstate, know that it was Dorsey who was doing the actual

corresponding with Mr. Maddox? The United States insists that it will so prove by (1)

Rush’s testimony that he was so told by Maddox during the text conversation, based on the

fact that Maddox also had a contemporaneous oral cell phone conversation with Dorsey,

and (2) by Ebberts who was present with Dorsey at the time in question.

       Again, it is noted that the United States has the burden of proving that the statement

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was made during the course of and in furtherance of the conspiracy, and part of that proof

necessarily will be the identity of the participants in the conversation. The United States

understands what it must prove at the trial of this case. Most assuredly it is not a matter for

pretrial determination and disposition.

       As a reminder to all attorneys, both prosecution and defense, they should read

paragraph X of the Order on Discovery and Scheduling with reference to their respective

obligations regarding F.R.E. 801(b)(2)(E).

       It is respectfully recommended that defendant’s motions to suppress, Docs. 419 and

420, be denied for the reasons aforesaid.1

       Respectfully submitted,


                                                    s/Dennis H. Inman
                                                    Dennis H. Inman
                                                    United States Magistrate Judge




       1
                Any objections to this report and recommendation must be filed within ten (14)
days of its service or further appeal will be waived. 28 U.S.C. § 636(b)(1)(B) and (C). United
States v. Walters, 638 F.2d 947-950 (6th Cir. 1981); Thomas v. Arn, 474 U.S. 140 (1985).


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